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                            UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF CONNECTICUT

UNITED STATES OF AMERICA,                      )
                                               )       Case No. 3:18-cv-787-KAD
         Plaintiff,                            )
                                               )
         v.                                    )
                                               )
ZVI KAUFMAN,                                   )
                                               )
         Defendant.                            )       June 30, 2020
                                               )

                        NOTICE OF SUPPLEMENTAL AUTHORITY

         Defendant Zvi Kaufman files this Notice of Supplemental Authority.       On June 18, 2020,

this Court heard oral argument on Defendant Kaufman’s Motion for Summary Judgment.

         The issue before the Court is the interpretation of 31 U.S.C. § 5321(a)(5)(A) and (B)(i) and

whether the non-willful civil penalty applies per foreign financial account maintained per year but

not properly or timely reported on an annual FBAR or per annual FBAR report not properly filed.

This is a matter of first impression for this Court.

         At oral argument, the Court inquired of other pending matters where this issue has been

presented. Since oral argument, in United States v. Bittner, Case No. 19-cv-419, (E.D. Tex. June

29, 2020), the Eastern District of Texas has addressed the very issue before this Court and it has

held that the penalties apply on a per form, rather than per account basis.   A copy of the opinion

is attached hereto.




{00174212.3 }
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                                                    Respectfully Submitted,

                                                    The Defendant: Zvi Kaufman

                                                    /s/ Jeffrey M. Sklarz_________________
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                                CERTIFICATE OF SERVICE

         I hereby certify that on the date set forth below a copy of the foregoing was served by

CM/ECF and/or mail on anyone unable to accept electronic filing. Parties may access this filing

through the Court’s CM/ECF System.



Date: June 30, 2020                                 /s/ Jeffrey M. Sklarz




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